                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

LS CLOUD STORAGE                       Case No. 1:22-cv-853-RP
TECHNOLOGIES, LLC,
                                       Jury Trial Demanded
             Plaintiff,
     v.

GOOGLE LLC,

             Defendant.


            GOOGLE’S MOTION TO STRIKE AMENDED COMPLAINT
            FILED WITHOUT CONSENT OR LEAVE OF COURT AND
          TO DISMISS IMPLAUSIBLE INFRINGEMENT CLAIM AGAINST
            SEPARATE PRODUCTS PURSUANT TO FED. R. CIV. P. 12
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       Six months after pleadings closed and five months after affirmatively representing that it

was not planning to amend its complaint to add a second patent, Plaintiff LS Cloud Storage

Technologies LLC (“Plaintiff” or “LSC”) proceeded to do exactly that, see ECF No. 31, without

consent from Defendant Google LLC or the requisite leave of Court, in contravention of Fed. R.

Civ. P. 15 and Local Rule CV-15. Plaintiff’s amended complaint, filed shortly before its

response to Google’s motion to stay pending IPR of U.S. Patent No. 10,154,092 (“’092 patent”),

was interposed purely to contrive a basis to oppose a stay warranted under the relevant factors.

See ECF No. 36, Reply Supp. Mot. Stay. Furthermore, Plaintiff’s amended complaint still has

not addressed the shortcomings of its infringement allegations with respect to the original patent-

in-suit, the ’092 patent, which mixes separate products for different claim limitations.

Accordingly, Google moves to strike the amended complaint filed for an improper purpose under

Fed. R. Civ. P. 12(f) and to dismiss the defective claim of infringement of the ’092 patent for

failure to state a claim under Fed. R. Civ. P. 12(b)(6).

       STATEMENT OF FACTS

               Plaintiff Did Not Obtain Consent or Leave To Amend To Add a Second
               Patent

       Plaintiff filed its original complaint on March 25, 2022, asserting only the ’092 patent.

See ECF No. 1. On the same day that Plaintiff filed its original complaint against Google,

Plaintiff had also filed complaints against several other defendants, asserting the ’988 patent in

addition to the ’092 patent. See Case Nos. 6:22-cv-316, 6:22-cv-319, 6:22-cv-321. Google filed

its answer to the complaint on June 16, 2022, which stated that Plaintiff’s claim chart attached as

Exhibit A did not support a claim for infringement of the ’092 patent. See ECF No. 11 ¶ 9.

       On July 22, 2022, several weeks after missing the deadline to serve preliminary

infringement contentions, see Adams Decl. Ex. B, Plaintiff served infringement contentions that



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included a claim chart for the ’988 patent not at issue in this case. See id. Ex. E. Since the ’988

patent was not asserted against Google, see ECF No. 1, nor identified in the cover of Plaintiff’s

infringement contentions, see Adams Decl. Ex. C at 1 (mislabeled “2”), Google inquired whether

the ’988 patent claim chart had been included in error or whether Plaintiff was planning to move

for leave to amend its complaint. See Adams Decl. ¶ 5. In response, counsel for Plaintiff stated,

“Let me check. We likely would not move to amend if not originally present.” See id. Ex. F.

       On November 2, 2022, Google filed a petition for Inter Partes review of the ’092 patent.

See ECF No. 29-2 (IPR2023-00120). The initial case management conference took place on

November 3, 2022, during which Google informed the Court that it was planning to seek to stay

the case pending resolution of its IPR. See ECF No. 35 at 8:4–10. As part of the scheduling

order entered in the case, the parties had agreed on a briefing schedule for Google’s motion to

stay, which was to be completed by December 6, 2022. See ECF No. 27. After Google filed its

motion to stay pending IPR of all claims of the patent-in-suit, see ECF No. 29, Plaintiff

requested an extension of time to file its opposition and submitted an unopposed motion for a

revised briefing schedule. See ECF No. 30. At no point did Plaintiff inform Google or the Court

that it would seek to amend its complaint.

       On December 2, 2022, counsel for Plaintiff sent an email asking whether Google would

oppose the amendment of the complaint “to make the pleadings consistent with the Infringement

Contentions.” 1 See Adams Decl. Ex. H. Without waiting for a response or filing any motion for



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  Not even counsel’s last-minute email was clear as to the scope of Plaintiff’s proposed
amendment. Plaintiff’s infringement contentions asserted eighteen additional claims beyond
claim 13 of the ’092 patent referenced in the original complaint. Compare Adams Decl., Ex. D,
with ECF No. 1-1. As such, amending to make the complaint “consistent with infringement
contentions” did not provide notice to Google that Plaintiff was planning to expand the case to




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leave to amend, Plaintiff proceeded to file its amended complaint three hours later, adding the

’988 patent. See Adams Decl. ¶ 9; ECF No. 31. Plaintiff then filed its opposition to Google’s

motion to stay, arguing that the pending IPR “does not cover all of the asserted claims of all the

patents-in-suit ….” See ECF No. 32 at 1.

               Plaintiff’s Amended Complaint Still Fails To Address the Defects in Its
               Infringement Allegations as to the Originally Asserted Patent

       As set forth in Google’s answer, see ECF No. 11 ¶ 9, Plaintiff’s claim chart attached as

Exhibit A to the original complaint does not support a claim for infringement of the ’092 patent.

See ECF No. 1-1. Since Plaintiff’s infringement contentions, subsequently attached to the

amended complaint, perpetuate the same deficiencies as the complaint of relying on two separate

products to meet different limitations of the asserted claims, see Adams Decl. Ex. D, Google sent

a letter to Plaintiff on November 21, 2022, requesting clarification as to the basis of Plaintiff’s

infringement allegations with respect to each accused product. 2 See id. Ex. G. Plaintiff’s

amended complaint, filed without consent or leave of Court, does not resolve this defect.

Compare ECF No. 1-1, with ECF No. 31-1.

       THE AMENDED COMPLAINT, FILED IN VIOLATION OF LOCAL RULE CV-
       15 AND FED. R. CIV. P. 15 FOR THE PURPOSE OF OPPOSING GOOGLE’S
       MOTION TO STAY PENDING IPR, SHOULD BE STRICKEN AS IMPROPER

       Since it had asserted the ’988 patent in addition to the ’092 patent in related cases filed at




add a second patent, especially since Plaintiff’s counsel had specifically indicated to the contrary
five months earlier in response to questions regarding the infringement contentions. See Adams
Decl. ¶ 5, Ex. F. Since Plaintiff proceeded to file its amended complaint without waiting for a
response from Google or obtaining leave from the Court, Google had no opportunity to inquire
as to the nature or basis of Plaintiff’s proposed amendment.
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 Google also requested confirmation that the ’988 patent claim chart, erroneously included in
Plaintiff’s July 22, 2022 infringement contentions, would be withdrawn. See Adams Decl. ¶ 6,
Ex. G at n.1.


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the same time against other defendants, Plaintiff was undoubtedly aware of a potential claim

with respect to that patent and decided not to assert it against Google, whether due to lack of

Rule 11 basis or for some other reason. See Wimm v. Jack Eckerd Corp., 3 F.3d 137, 141 (5th

Cir. 1993) (“a party’s awareness of facts and failure to include them in the complaint might give

rise to the inference that the party was engaging in tactical maneuvers to force the court to

consider various theories seriatim. In such a case,… denial of leave to amend on the grounds of

faith may be appropriate”). After belatedly serving preliminary infringement contentions

containing an errant claim chart for the ’988 patent asserted only against the other defendants,

counsel for Plaintiff advised that it would not amend the complaint if the ’988 patent was not

originally present in this case. See Adams Decl. ¶ 5, Ex. F.

       From March of 2022 until Plaintiff’s unauthorized filing of its amended complaint in

December of 2022, during which the Court set a case schedule for a one-patent case with

nineteen asserted claims, see ECF No. 27, Google had no reason to expect that Plaintiff would

amend its complaint to assert a second patent contrary to counsel’s previous representation. See

Adams Decl. Ex. F. Only after Google had filed a petition for IPR of the sole asserted patent and

Plaintiff’s opposition to Google’s motion to stay the case was looming did Plaintiff proceed to

amend its complaint and oppose Google’s motion to stay based on its unauthorized amendment.

See ECF No. 32 at 1–2 (“Google’s IPR petition is only directed to the claims of the ’092 patent,

but not to the ’988 patent-in-suit.”). Even when Plaintiff requested an extension of the briefing

schedule on Google’s motion to stay pending IPR of the sole patent-in-suit, Plaintiff gave no

indication that it planned to add the ’988 patent to the case. See ECF No. 30.

       Plaintiff did not even bother to follow the requirements of the applicable Federal and

Local Rules before amending its complaint to add the ’988 patent. See Decapolis Sys., LLC v.




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Epic Sys. Corp., 2021 WL 5908403, at *2 (W.D. Tex. Dec. 14, 2021) (striking amended

complaint filed without leave of court); Cypress Lake Software, Inc. v. Samsung Elecs. Am., Inc.,

No. 6:18-cv-30-JDK, ECF No. 381 (E.D. Tex. Aug. 9, 2019) (granting motion to strike amended

complaint filed without defendants’ consent or leave of court as required by Rule 15(a)(2)).

Thus, Plaintiff’s amended complaint, filed in bad faith and with dilatory motive in an attempt to

fabricate a reason to oppose Google’s motion to stay pending IPR, should be stricken. See

Wimm, 3 F.3d at 141–42 (affirming district court’s finding of bad faith and dilatory motive

where plaintiff sought to amend complaint after defendant filed motion for summary judgment);

see also U.S. v. HealthSouth Corp., 332 F.3d 293, 296–97 (5th Cir. 2003) (“failing to request

leave from the court when leave is required makes a pleading more than technically deficient …

because HealthSouth would have been prejudiced if the court did not follow the formal

requirements of Rule 15(a)”).

       THE AMENDED COMPLAINT CONTINUES TO FAIL TO STATE A VIABLE
       CLAIM FOR INFRINGEMENT OF THE ’092 PATENT

       As Google informed Plaintiff before it decided to unilaterally amend its complaint, see

Adams Decl. Ex. G, Plaintiff’s claim chart for the ’092 patent relies on separate products,

Dedicated Interconnect and Storage Transfer Service (“STS”), for different aspects of each

independent claim and fails to identify any single accused product that allegedly meets every

limitation of any asserted claim. 3 See Ancora Techs., Inc. v. Lenovo Group Ltd., 2020 WL

4530718, at *1 (D. Del. Aug. 6, 2020) (complaint fails to state claim where allegations unclear

whether one product alone could infringe). In its answer to the original complaint, Google stated




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  The allegations also rely on several other disparate products and services for various limitations
and dependent claims. See, e.g., Adams Decl. Ex. D at 17 (dependent claim 9), 19–20
(dependent claim 12), 33 (dependent claim 14).


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that the claim chart attached as Exhibit A to the complaint did not support a claim for

infringement of the ’092 patent. See ECF No. 11 ¶ 9. In its letter of November 21, 2022, Google

detailed the deficiencies of Plaintiff’s infringement allegations that failed to identify any product

that met all of the elements of any asserted claim of the ’092 patent. See Adams Decl. Ex. G.

Plaintiff’s improperly filed amended complaint still fails to cure these deficiencies. Compare

ECF No. 1-1, with ECF No. 31-1 at 20–33, Adams Decl. Ex. D at 20–33. Thus, Plaintiff’s

infringement claim as to the ’092 patent should be dismissed for failure to state a claim. See Bot

M8 LLC v. Sony Corp., 4 F.4th 1342, 1354 (Fed. Cir. 2021) (“Where, as here, the factual

allegations are actually inconsistent with and contradict infringement, they are likewise

insufficient to state a plausible claim.”).

                Overview of the ’092 Patent

        According to the specification, prior art data storage systems “are built from two systems,

one for handling I/O channels, and another for handling open networks,” and “two systems are

very expensive even in minimal configuration that must include two systems.” See ’092 patent

at 2:57–60. All claims of the ’092 patent require receiving traffic over a “dedicated I/O channel”

and separately receiving data “via a network.” See id. at 9:21–25, 10:7–11, 10:41–47, 11:2–5.

Thus, all claims require access to both I/O channel attached hosts and network link attached

hosts. See id. at 4:12–24 (“functionality [of the present invention] is achieved by using an

underlying general-purpose operating system”; “lower cost is achieved by relying on standard

components”; “present invention overcomes the limitations or prior art system by providing

concurrent access for both I/O channel attached hosts and network link attached hosts”). During

prosecution, the applicant overcame a rejection under 35 U.S.C. § 101 by emphasizing that the

claimed invention “supports arbitrary reads and writes arriving via I/O channels or network




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links.” 4 See Adams Decl. Ex. A at 8; see also ’092 patent at 2:39–41 (distinguishing prior art

systems that did not support arbitrary read and write requests), 3:52–54.

               The Amended Complaint Contains No Allegations To Support the Illogical
               Assumption That Two Different Tools for Mutually Exclusive Purposes Are
               Ever Used Together in a Single System

       Dedicated Interconnect and STS are separate products serving different needs and are not

meant to work together. See Bot M8, 4 F.4th at 1354 (allegations taking “kitchen sink” approach

to pleading revealed inconsistency fatal to infringement claim). Dedicated Interconnect provides

a direct physical connection between a customer’s network and Google’s network to provide

direct transfers between the two. See, e.g., ECF No. 31-1 at 3, 12, 22, 40, 49, 55 (excerpt of

webpage description of Dedicated Interconnect as “cross connect between the Google network

and [the customer’s network router] in a common location”). In contrast, STS provides for

indirect transfers between networks over the Internet. See, e.g., id. at 4, 14, 25, 41, 56 (“Transfer

petabytes of data … over online networks…. Transfer data from online sources”); id. at 20

(“What is Storage Transfer Service? Move or backup data to a [Google] Cloud Storage bucket

either from other cloud storage providers or from your on-premises [] storage”). These products

differ in the same way the ’092 patent distinguished prior art systems from its claimed invention.

See ’092 patent at 2:57–60.

       Although both products allow for transfer of data to Google, Dedicated Interconnect

allows for transferring data from a customer network via a direct or offline connection, and STS



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  Since the prosecution history of the ’092 patent is a matter of public record and part of the
intrinsic record, the Court may take judicial notice of its contents for consideration at the
pleading stage. See Grecia Estate Holdings LLC v. Meta Platforms, Inc., 2022 WL 2019296, at
*6 (W.D. Tex. June 6, 2022) (appropriate to consider prosecution history to evaluate whether
plaintiff adequately pleaded infringement); Walker v. Beaumont Indep. School Dist., 938 F.3d
724, 735 (5th Cir. 2019).


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allows for transferring data from an online or third party network via an indirect or online

connection. See ECF No. 31-1 at 3, 12, 22 (Dedicated Interconnect); id. at 4, 14, 25 (STS). If

data is on a customer’s local network (not available over the internet), Dedicated Interconnect

would be the appropriate choice. See id. at 3, 12, 22, 40, 49, 55 (depicting direct connection

between Google Cloud and the customer “On-premises network”). On the other hand, if the data

is with a third party cloud service, STS would be the appropriate tool. See id. at 4, 14, 25, 41, 56

(“Transfer data from online sources like AWS S3 and Azure Blob Storage to [Google] Cloud

Storage”). Thus, these products are not combined for transferring data to storage hosted by

Google. See Fintiv, Inc. v. Paypal Holdings, Inc., No. 6:22-cv-00288-ADA, ECF No. 54 at 13–

16 (W.D. Tex. Dec. 19, 2022) (inconsistency in infringement allegations rendered claim

implausible).

          As summarized in the table below, for each independent claim limitation requiring “a

dedicated I/O channel,” the amended complaint relies only on Dedicated Interconnect and not

STS. 5 For each independent claim limitation requiring a network link via “a second interface,”

the amended complaint relies only on STS and not Dedicated Interconnect.

           Claim Limitation               Dedicated Interconnect       Storage Transfer Service
    I/O Limitation                       “Traffic from a host device
                                         (on-premises sources) via a
    “a first interface configured to     dedicated I/O channel
    receive input/output (I/O) traffic   (Dedicated Interconnect
    from a first host                    Work) at a first interface”
    [device/computer] via a dedicated
    I/O channel” (claims 1, 19)          ECF No. 31-1, Ex. A to
                                         First Am. Compl., ’092

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  The amended complaint also fails to identify any “I/O channel adapter” or “I/O channel,” see
ECF No. 31-2 at 2–3, 12–14 (same as Adams Decl. Ex. E), as required by the asserted
independent claims of the ’988 patent. See HourExchange, LLC v. Student Loan Benefits, Inc.,
No. 1:22-cv-356-RP, 2023 WL 139150, at *4 (W.D. Tex. Jan. 9, 2023) (recommending dismissal
because plaintiff “fails to allege [the accused] system meets ‘each and every limitation of at least
one claim’”).


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          Claim Limitation           Dedicated Interconnect          Storage Transfer Service
 “receiving input/output (I/O)     chart at 22 (claim 13); see
 traffic from a host device via a  also 1–3 (claim 1), 38–40
 dedicated I/O channel” (claim 13) (claim 19); 53–55 (claim
                                   24).
 “means for receiving input/output
 (I/O) traffic from a first host
 device via a dedicated I/O
 channel” (claim 24)

 Network Link Limitation                                            “Google Storage Transfer
                                                                    Service receive first data
 “a second interface configured to                                  (data from online sources)
 receive [first] data via a network”                                via a network”
 (claims 1, 19)
                                                                    ECF No. 31-1, Ex. A to
 “receiving first data via a network                                First Am. Compl., ’092
 at a second interface” (claim 13)                                  chart at 3 (claim 1), 24
                                                                    (claim 13); 40 (claim 19);
 “means for receiving data via a                                    55 (claim 24).
 network” (claim 24)


       Not only does the amended complaint fail to allege that Dedicated Interconnect and STS

are somehow used together, it shows that they are not, as demonstrated above. See Ruby Sands

LLC v. Am. Nat’l Bank of Tex., 2016 WL 3542430, at *4 (E.D. Tex. June 28, 2016) (granting

motion to dismiss because direct infringement pleadings were constructed upon “a fatally flawed

foundation”). The complaint identifies Dedicated Interconnect as the claimed “dedicated I/O

channel” but alleges that clicking a button to send a command across the Internet constitutes the

claimed “input/output traffic from a host device” sent “via a dedicated I/O channel.” See ECF

No. 31-1 at 22–24. Because it lacks any explanation of how Google (or any customer) has used

Dedicated Interconnect in combination with STS, placing the claims as a whole into service, the

amended complaint fails to state a claim of infringement of the ’092 patent. See AK Meeting IP

LLC v. Cisco Sys., Inc., 2022 WL 17979765, at *2–3 (W.D. Tex. Dec. 28, 2022) (dismissing

claims where allegations did not plausibly show how accused product infringed). By identifying


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Dedicated Interconnect alone for the “dedicated I/O channel” limitation and STS alone for the

network limitation, neither accused product constitutes a single storage system receiving data via

I/O channels and network links. See Vervain, LLC v. Micron Tech., Inc., 2022 WL 23469, at *8–

9 (W.D. Tex. Jan. 3, 2022) (dismissing complaint where plaintiff failed to sufficiently allege that

limitations critical to issuance of claims and reflecting critical part of claimed invention were

met).

        Google informed Plaintiff of the deficiencies of its ’092 patent infringement allegations,

first in its answer to the original complaint, see ECF No. 11 ¶ 9, and again in further detail with

respect to the ’092 patent claim charts in Plaintiff’s infringement contentions, see Adams Decl.

Exs. D, G, which are also attached as exhibits to Plaintiff’s amended complaint. See ECF No.

31-1. Plaintiff failed to address these failings, and the amended complaint fails to state a viable

claim for infringement of the ’092 patent. Accordingly, Count IIIA of the Amended Complaint

should be dismissed for failure to allege that any accused product practices a key element of the

claimed invention. See Qwikcash, LLC v. Blackhawk Network Holdings, Inc., 2020 WL

6781566, at *4–5 (E.D. Tex. Nov. 17, 2020) (granting 12(b)(6) motion where plaintiff’s

allegations were irreconcilable with structure and text of asserted claim); see also Bowmar

Archery LLC v. VIP Veteran Innovative Prods. LLC, No. 1:22-cv-346-RP, 2023 WL 28438, at *4

(W.D. Tex. Jan. 3, 2023) (recommending dismissal where complaint includes no factual content

showing that accused product meets limitation material to practicing asserted claim).

        CONCLUSION

        In view of the foregoing, Google respectfully requests that the Court strike Plaintiff’s

unauthorized amended complaint filed for an improper purpose and dismiss Count IIIA for

failure to state a claim for infringement of the ’092 patent.




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Dated:   January 12, 2023    Respectfully submitted,

                                 /s/ Brian C. Banner

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the above and foregoing

document has been served on January 12, 2023 to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system.

                                                /s/ Brian C. Banner




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